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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                            Case No. :

BOUSTEAD SECURITIES LLC,

       Petitioner,

v.

UNATION, INC.,

      Respondent.
____________________________________/

                     PETITION TO CONFIRM ARBITRATION AWARD
                     AND INCORPORATED MEMORANDUM OF LAW

       Petitioner Boustead Securities, LLC (“Boustead” or “Petitioner”), pursuant to 28 U.S.C.

§ 1332 and 9 U.S.C. §§ 9-11, hereby files this Petition to Confirm Arbitration Award and

Incorporated Memorandum of Law (“Petition to Confirm”). In support thereof, Petitioner

respectfully states as follows:

                          JURISDICTION, VENUE, AND PARTIES

       1.      This is an action to confirm an arbitration award, entered in Washington, District

of Columbia, pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 9.

       2.       This Court has jurisdiction pursuant to 28 U.S.C. § 1332, in that there is diversity

of citizenship between Boustead and Respondent UNation, Inc. (“UNation” or “Respondent”),

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       3.      At all times material, Boustead was and is a limited liability company organized

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under the laws of the State of California, with its principal place of business in the State of

California. Boustead’s sole member is Boustead & Company Limited, a Nevada corporation.

       4.       At all times material, Respondent UNation was and is a Delaware corporation,

with its principle place of business in Tampa, Florida.

       5.       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 because

Respondent UNation is located in Tampa, Florida.

       6.       This Court has personal jurisdiction over Respondent UNation because

Respondent UNation is authorized to do business in Florida, conducts business in Florida, and

has been engaged in substantial and not isolated activities in Florida.

                                  FACTUAL ALLEGATIONS

       7.       On or about October 15, 2019, Boustead filed a Demand for Arbitration with

JAMS against Respondent UNation, entitled Boustead Securities LLC v. UNation, Inc., JAMS

Case No. 1410008338 (the “JAMS Arbitration”). In its statement of claim (“Statement of

Claim”), Boustead sought relief for breach of contract, unjust enrichment, accounting, and

breach of duty of good faith and fair dealing against Respondent UNation. Boustead’s claims

were predicated upon the contract Boustead and Respondent UNation entered into on or about

August 17, 2017 (the “Agreement”) (the Agreement is attached hereto as “Exhibit A”), wherein

Boustead agreed to provide advisory and underwriting services to enable Respondent UNation to

be listed by the Securities and Exchange Commission (“SEC”) in exchange for specified

compensation.

       8.       Boustead claimed that Respondent UNation breached the Agreement by failing to

provide an accounting of investments made during and after the contract period and failing to
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pay Success Fees (as defined in the Agreement) in cash and warrants based on those investments.

           9.      Respondent UNation stated in defense that it owed no such Success Fees and

claimed that Boustead had abandoned the Agreement.

           10.     An arbitration hearing (the “Final Hearing”) was conducted before a single

arbitrator via Zoom1 on September 23, 24, and 27, 2021. On October 26, 2021, the arbitration

panel entered a final award (the “Award”) in Boustead’s favor (a copy of the Award is attached

hereto as “Exhibit B”) stating that Boustead performed all services required under the Agreement

by the totality of the evidence, and that Respondent UNation breached the Agreement by failing

to pay the Success Fees owed to Boustead under Section 2(a)(iii) of the Agreement.

Specifically, the arbitrator: i) ordered Respondent UNation to pay Boustead $669,684.33 in

Success Fees, plus interest of 8% from August 16, 2019 until paid; and ii) ordered Respondent

UNation to issue 112,236 warrants to Boustead for shares at $6.00 per share, and 138,141

warrants to Boustead for shares at $2.00 per share, in compliance with the terms of the

Agreement.

           11.     To date, Respondent UNation has failed to satisfy the Award, and has also failed

to file or serve a petition to vacate, modify, or correct the Award in accordance with the FAA or

state law in a timely manner. The deadline for Respondent UNation to file any petition to

vacate, modify, or correct the Award has passed.                    As such, pursuant to 9 U.S.C. § 9,

confirmation of the Award must be granted.

                                        MEMORANDUM OF LAW

           Section 9 of the FAA authorizes courts to enter judgment upon arbitration awards. See 9

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    Due to the Covid-19 Pandemic, the arbitration was conducted via Zoom.
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U.S.C. § 9 (“[A]t any time within one year after the award is made any party to the arbitration

may apply to the court so specified for an order confirming the award.”). This Court should

confirm the Award and enter judgment against Respondent UNation because (1) this Court is the

appropriate forum to confirm the award under the FAA; (2) Boustead filed its Petition to

Confirm the Award within one (1) year after it was issued; and (3) the Award has not been

vacated, modified, or corrected, and the time to do so has expired. See Exhibit B.

       This matter is subject to the FAA because the business dealings at issue between

Boustead and Respondent UNation involved interstate commerce. See Jenkins v. First Am. Cash

Advance of Georgia, LLC, 400 F.3d 868, 874 (11th Cir. 2005) (“The FAA defines ‘commerce’ as

‘commerce among the several States.’”) (internal citations omitted). The FAA provides, in

relevant part, as follows:

       If the parties in their agreement have agreed that a judgment of the court shall be
       entered upon the award made pursuant to the arbitration, and shall specify the
       court, then at any time within one year after the award is made any party to the
       arbitration may apply to the court so specified for an order confirming the award,
       and thereupon the court must grant such an order unless the award is vacated,
       modified, or corrected as prescribed in sections 10 and 11 of this title. If no court
       is specified in the agreement of the parties, then such application may be made to
       the United States court in and for the district within which such award was made.
       Notice of the application shall be served upon the adverse party, and thereupon
       the court shall have jurisdiction of such party as though he had appeared generally
       in the proceeding.

9 U.S.C. § 9. The parties’ agreed in the Agreement that:

       Any controversy or claim relating to or arising from this Agreement (an “Arbitrable
       Dispute”) shall be settled by arbitration in accordance with the Commercial
       Arbitration Rules of the Judicial Arbitration and Mediation Services (the “JAMS”) as
       such rules may be modified herein or as otherwise agreed by the parties in
       controversy.

Exhibit A at ¶ 8. JAMS’ Arbitration Rules are incorporated into the parties’ Agreement by
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reference. See International Broth. Of Elec. Workers, Local Union 824 v. Verizon Florida, LLC,

803 F.3d 1241, 1248 (11th Cir. 2015), citing Idea Nuova, Inc v. GM Licensing Gro25up, Inc.,

617 F.3d 177, 181 (2nd Cir. 2010); PTA-FLA, Inc. v. ZTE USA, Inc., No. 3:11-cv-510-J-32JRK,

2015 WL 12819186, at *4 (M.D. Fla.) (Court upheld parties’ agreement to arbitrate under the

arbitration forum’s particular rules and deemed those rules to be incorporated into the parties’

agreement to arbitrate). JAMS’ Arbitration Rule 25 states: “[p]roceedings to enforce, confirm,

modify or vacate an Award will be controlled by and conducted in conformity with the [FAA], 9

U.S.C. § 1, et seq., or applicable state law. The Parties to an Arbitration under these Rules shall

be deemed to have consented that judgment upon the Award may be entered in any court

having jurisdiction thereof.” JAMS Comprehensive Arbitration Rules and Procedures, Rule

25. (emphasis added). This Court has jurisdiction over this matter pursuant to 9 U.S.C. § 9 and

JAMS’ Arbitration Rule 25, and venue is proper in this Court pursuant to 28 U.S.C. § 1391

because Respondent UNation is a resident of this District. This Court also has subject matter

jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a) because the adverse parties are

citizens of different states, and the amount in controversy exceeds $75,000, exclusive of interest

and costs. See Exhibit B at 11.

       As acknowledged by the Supreme Court, a court’s review of an arbitration award is “very

limited.” United Paperworkers Int'l Union, AFL-CIO v. Misco, Inc., 484 U.S. 29, 36, 108 S. Ct.

364, 370, 98 L. Ed. 2d 286 (1987) (quoting Steelworkers v. American Mfg. Co., 363 U.S. 564,

567–568, 80 S.Ct. 1343, 1346, 4 L.Ed.2d 1403 (1960)). A party may move to vacate, modify, or

correct an arbitration award within three months of the award’s issuance. See 9 U.S.C. § 12.

Petitions to confirm arbitration awards pursuant to the FAA are “usually routine or summary.”
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Cat Charter, LLC v. Schurtenberger, 646 F.3d 836, 842 (11th Cir. 2011) (citations omitted). In

fact, arbitration awards are appropriately confirmed after the three-month statutory window to

challenge them has expired. See Cullen v. Paine, Webber, Jackson & Curtis, Inc., 863 F.2d 851,

854 (11th Cir. 1989) (citing Florasynth, Inc. v. Pickholz, 750 F.2d 171, 177 (2d Cir. 1984))

(“When the three month limitations period has run without vacation of the arbitration award, the

successful party has a right to [] obtain confirmation in a summary proceeding.”).

        As set forth above, the Award in the JAMS Arbitration was entered on October 26,

2021.2 Accordingly, any motion to vacate pursuant to 9 U.S.C. § 10, or any motion to modify or

correct the Award pursuant to 9 U.S.C. § 12, must have been filed within three (3) months of

being served with the Award. See 9 U.S.C. § 12 (“Notice of a motion to vacate, modify, or

correct an award must be served upon the adverse party or his attorney within three months after

the award is filed or delivered.) (emphasis added). To date – over three months after service of

the Award on Respondent UNation – Respondent UNation has neither satisfied the Award nor

filed any motion to vacate, modify, or correct the Award. If a party seeks to confirm an

arbitration award within a year of its entry, the court must do so unless the award has been

vacated or modified under sections 10 or 11 of the FAA. See id. Accordingly, this Court must

grant Boustead’s Petition to Confirm.




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 The Award was not served on the parties until February 16, 2022, due to Respondent UNation’s failure to timely
pay its fees due to JAMS.
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       WHEREFORE, Petitioner Boustead, respectfully requests that this Court grant

Petitioner’s Petition to Confirm, and grant Petitioner Boustead such other and further relief as the

Court deems just and proper.

Dated: June 10, 2022



                                                     Respectfully submitted,

                                                     /s/ Mark David Hunter
                                                     Mark David Hunter, Esquire
                                                     Florida Bar No. 12995
                                                     Jenny Johnson-Sardella, Esquire
                                                     Florida Bar No. 67372
                                                     Hunter Taubman Fischer & Li LLC
                                                     2 Alhambra Plaza, Suite 650
                                                     Coral Gables, Florida 33134
                                                     Tel: (305) 629-1180
                                                     Fax: (305) 629-8099
                                                     E-mail:       mhunter@htflawyers.com
                                                                   jsardella@htflawyers.com




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